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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     EPIC GAMES, INC.,                                Case No. 20-cv-05640-YGR (TSH)
                                   8                   Plaintiff,
                                                                                          DISCOVERY ORDER
                                   9             v.
                                                                                          Re: Dkt. No. 213
                                  10     APPLE INC.,
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          On page 4 of the joint discovery letter brief at ECF No. 213-3, Epic Games cites

                                  14   APL_APPSTORE_00227526 and an excerpt from the Fischer deposition. The Court orders Epic

                                  15   to file those documents by noon Pacific time on December 29, 2020.

                                  16

                                  17          IT IS SO ORDERED.

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                                  19   Dated: December 29, 2020

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                                                                                                  THOMAS S. HIXSON
                                  21                                                              United States Magistrate Judge
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